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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1053V
                                   Filed: December 21, 2015
                                          Unpublished

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SHIELA SEGER,                             *
                                          *
                     Petitioner,          *      Ruling on Entitlement; Concession;
                                          *      Influenza (“flu”) Vaccine; Shoulder Injury
                                          *      Related to Vaccine Administration
SECRETARY OF HEALTH                       *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                       *      (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ann Martin, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

        On September 21, 2015, Shiela Seger (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleges that she
received an influenza (“flu”) vaccine on October 27, 2014, and thereafter suffered
injuries to her left shoulder, which were caused in fact by the flu vaccine. Petition at 1-
3. The case was assigned to the Special Processing Unit (“SPU”) of the Office of
Special Masters.

        On December 21, 2015, respondent filed a Rule 4(c) Report in which she
conceded entitlement to compensation. Respondent’s Rule 4(c) Report at 1, 4.
Specifically, respondent concluded that the preponderance of evidence establishes that
the injury to petitioner’s left shoulder was caused-in-fact by the administration of the
October 27, 2014, flu vaccine, and that petitioner’s injury is not due to factors unrelated

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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to the administration of that vaccine. Id. at 3. Additionally, respondent stated that the
medical evidence reflects that petitioner has suffered the condition for more than six
months. Id. at 3-4. In light of the foregoing, respondent has concluded that petitioner’s
left shoulder injury is compensable under the Act as a “caused-in-fact” shoulder injury
related to vaccine administration (“SIRVA”). Id. at 5. The scope of damages to be
awarded is limited to petitioner’s left shoulder injury only. Id.

     In view of respondent’s concession and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
